






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00606-CV






Sindia Lozada, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT

NO. 245,753-B, HONORABLE RICK MORRIS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



	Appellant Sindia Lozada no longer wishes to pursue her appeal and has filed
a&nbsp;motion&nbsp;to dismiss.  Lozada's counsel states that he has conferred with counsel for appellee
Texas&nbsp;Department of Family and Protective Services, who does not oppose this motion.  We grant
the motion and dismiss the appeal.  Tex. R. App. P. 42.1(a).


					__________________________________________

					Jeff Rose, Justice

Before Justices Puryear, Rose and Goodwin

Dismissed on Appellant's Motion

Filed:   November 9, 2011


